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                        UNITED STATES DISTRICT COURT
                        DISTRICT OF NEVADA – LAS VEGAS

SECURITIES AND EXCHANGE
COMMISSION,
                                 Plaintiff,
                                 v.                Case No. 2:11-cv-2011
DANIEL E. RUETTIGER,
ROCCO BRANDONISIO,
STEPHEN DECESARE,
PAWEL P. DYNKOWSKI,
KEVIN S. KAPLAN,
GREGG R. MULHOLLAND,
MEHMET MUSTAFOGLU,
JOSEPH A. PADILLA,
ANGELO R. PANETTA,
KEVIN J. QUINN,
ANDREA M. RITCHIE,
CHAD P. SMANJAK, and
GARY J. YOCOM,

                                 Defendants.


                                      COMPLAINT

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